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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.
 BERLUTI SA and
 LOUIS VUITTON MALLETIER,

                   Plaintiffs,
 vs.

 BERLUTISHOEOUTLET.COM, BERLUTICOPY.COM,
 BERLUTISHOESALE.COM, BERLUTISHOESHOP.COM,
 BERLUTISHOESSHOP.COM, BERLUTISHOESTORE.COM, BAGLV.RU,
 BOLSOS-LOUISVUITTONS.COM, LOUIS-TASCHENS.CLUB,
 LOUISVUITTON.TOP a/k/a LOUISVUITTON2020.TOP a/k/a
 LOUISVUITTONSHOP.CLUB a/k/a LOUISVUITTONSHOP.ONLINE a/k/a
 LOUIS-VUITTON-SHOP.TOP a/k/a LOUISVUITTONSHOPSW.TOP a/k/a
 LOUISVUITTONSTORE.XYZ a/k/a LOUIS-VUITTONSTORE.XYZ a/k/a
 LUXURYSHOPIN.COM, LOUISVUITTON-BARATOS.EU,
 LOUISVUITTONHUNTER.NET, LVBAG.RU,
 LVBAG2019ONLINE.COM, LVBAGS.STORE, LVBAGSALE.CLUB,
 LVBAG-SALE.COM, LVBAGSBE.COM, LVBAGTW.NET, LV-SHOP.RU,
 LV-SINGAPORES.COM, REPLICALVSHOP.COM,
 REPLICASLVSTORE.COM, TOPLVBAG.COM,
 AUTHENTICLOUISVUITTONHANDBAGS.COM a/k/a
 AUTHENTICLOUISVUITTONHANDBAGSOUTLET.COM a/k/a
 REALPURSES.RU, GIFTS4WIFE.COM a/k/a AMUZE.TOP a/k/a
 BAGBUY.TOP a/k/a BAGF.XYZ a/k/a BAGGN.TOP a/k/a BAGLR.TOP
 a/k/a BAGQ.XYZ a/k/a BAGR.XYZ a/k/a BAGT.XYZ a/k/a BAGW.XYZ
 a/k/a BAGXJ.TOP a/k/a BOURKE.TOP a/k/a CHOIES.TOP a/k/a
 COSTCO.TOP a/k/a DERMSTORE.TOP a/k/a DOONEY.TOP a/k/a
 DRJAYS.XYZ a/k/a ECOST.XYZ a/k/a FRESHPAIR.XYZ a/k/a
 GIFT4WIFE.COM a/k/a GOLDYN.TOP a/k/a GOLDYN.XYZ a/k/a
 HANDANGO.XYZ a/k/a JOYGRYSON.TOP a/k/a JOYGRYSON.XYZ
 a/k/a KARMALOOP.TOP a/k/a KAYU.XYZ a/k/a LOIT.XYZ a/k/a
 LOUISVUITTONBLACKFRIDAY.TOP a/k/a
 LOUISVUITTONBLACKFRIDAY2019.XYZ a/k/a
 LOUISVUITTONBLACKFRIDAYDISCOUNT.XYZ a/k/a
 LOUISVUITTONBLACKFRIDAYSALE.XYZ a/k/a
 LOUISVUITTONBLACKFRIDAYSHOP.XYZ a/k/a
 LOUISVUITTONBLACKFRIDAYSTORE.TOP a/k/a LV2020.TOP a/k/a
 LVBAG.SITE a/k/a LVBAGS.XYZ a/k/a LVBLACKFRIDAY.TOP a/k/a
 LVBLACKFRIDAY2019.CLUB a/k/a LVBLACKFRIDAYSHOP.TOP a/k/a
 LVBLACKFRIDAYSTORE.XYZ a/k/a LVCLUB.XYZ a/k/a
 LVCOUPON.XYZ a/k/a LVESHOP.TOP a/k/a LVFACTORY.TOP a/k/a
 LVGIFTS.XYZ a/k/a LVHANDBAGS.XYZ a/k/a LVHOME.PUB a/k/a
 LVHOT.TOP a/k/a LVHOUSE.PUB a/k/a LVMALL.XYZ a/k/a
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 LVMARKET.SITE a/k/a LVOFF.TOP a/k/a LVONLINE.XYZ a/k/a
 LVOUTLET.SITE a/k/a LVSHOP.SITE a/k/a LVSHOP.XYZ a/k/a
 LVSTORE.PUB a/k/a MODNIQUE.XYZ a/k/a NEXTAG.TOP a/k/a
 SHOP0.SITE a/k/a SHOP0.XYZ a/k/a SHOP1.PUB a/k/a SHOP3.PUB a/k/a
 SHOP4.CLUB a/k/a SHOP4.REN a/k/a SHOP5.CLOUD a/k/a SHOP6.SITE
 a/k/a SHOP7.ONLINE a/k/a SHOP7.PUB a/k/a SHOP8.PUB a/k/a
 SHOP8.SITE a/k/a SHOP8.XYZ a/k/a SHOP9.REN a/k/a SHOPB.PUB a/k/a
 SHOPC.CLUB a/k/a SHOPC.XYZ a/k/a SHOPD.TOP a/k/a SHOPF.XYZ
 a/k/a SHOPG.SITE a/k/a SHOPG.TOP a/k/a SHOPH.SITE a/k/a
 SHOPH.TOP a/k/a SHOPI.CLUB a/k/a SHOPI.SITE a/k/a SHOPK.PUB a/k/a
 SHOPK.TOP a/k/a SHOPM.CLUB a/k/a SHOPM.XYZ a/k/a SHOPN.PUB
 a/k/a SHOPN.SITE a/k/a SHOPN.TOP a/k/a SHOPO.REN a/k/a
 SHOPR.CLUB a/k/a SHOPT.CLUB a/k/a SHOPT.PUB a/k/a SHOPU.REN
 a/k/a SHOPU.XYZ a/k/a SHOPV.PUB a/k/a SHOPV.SITE a/k/a
 SHOPV.TOP a/k/a SHOPW.TOP a/k/a SHOPZ.TOP a/k/a STILA.TOP a/k/a
 STILA.XYZ a/k/a STJOHN.XYZ a/k/a STORE0.TOP a/k/a STORE0.XYZ
 a/k/a STORE3.ONLINE a/k/a STORE3.XYZ a/k/a STORE4.CLUB a/k/a
 STORE4.TOP a/k/a STORE4.XYZ a/k/a STORE5.CLUB a/k/a
 STORE5.XYZ a/k/a STORE7.CLUB a/k/a STORE7.TOP a/k/a
 STORE7.XYZ a/k/a STORE9.CLUB a/k/a STORE9.TOP a/k/a
 STORE9.XYZ a/k/a STOREA.XYZ a/k/a STOREB.SITE a/k/a
 STOREB.XYZ a/k/a STOREE.CLUB a/k/a STOREE.PUB a/k/a
 STOREF.XYZ a/k/a STOREG.XYZ a/k/a STOREH.XYZ a/k/a
 STOREI.CLUB a/k/a STOREI.SITE a/k/a STOREJ.TOP a/k/a STOREJ.XYZ
 a/k/a STOREL.SITE a/k/a STOREL.XYZ a/k/a STOREM.ONLINE a/k/a
 STOREN.CLUB a/k/a STOREP.XYZ a/k/a STOREQ.XYZ a/k/a
 STORER.CLOUD a/k/a STORES.PUB a/k/a STOREU.CLUB a/k/a
 STOREV.CLUB a/k/a STOREV.ONLINE a/k/a STOREX.PUB a/k/a
 STOREY.CLUB a/k/a STOREY.PUB a/k/a THEROW.XYZ a/k/a
 VIPBAG.TOP, 3AIMITATIONBAGS.COM, 3SREPLICABAGS.COM a/k/a
 AAABAGSFASHION.COM, AAABAG.NU a/k/a AAAHANDBAGS.NU
 a/k/a LEADERREPLICA.COM a/k/a NEWSLUXURYBAGS.COM,
 AAAHANDBAG.SE a/k/a AAAREPLICABAGS.NU, ABAGS.SU,
 ABCWATCHES.CN a/k/a WOWATCHES.CN, BAG32.COM,
 BAGSCOPYSTORE.COM, BELLISSIMO-LUXURY.COM,
 BETTYPURSES.COM, BRAND-BELTS.RU, BRANDSANDSTYLE.RU,
 BRANDSHOPPING.COM.UA, BRENDMSK.RU, BREND-SHOES.RU,
 BROKENSWINGBAND.COM, BUDGETSIGNSMN.COM,
 CHEAP4WORLD.RU, CHEAPBAGS.RU, CNREPLICA.BEST a/k/a
 HOTSAN.BEST a/k/a HOTSAN.SITE a/k/a REPLICABAGS.BEST a/k/a
 REPLICABAGS.SHOP, CHEAPBRANDBAGSHOES.COM,
 CHINAHANDBAGS.RU, CLASSICBILLIARDSPOOL.COM,
 CLONWATCHES.COM, DOPESTKICKZ.RU, DW-WATCHS.RU a/k/a
 HOUSESWATCHS.RU a/k/a HOUSEWATCHESS.RU a/k/a
 HOUSWATCHESS.RU a/k/a WATCHES-24-7.RU, ELUXURY.CO,
 ESSENCELUXURY.RU, EUROFASHIONS.RU,



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 FAKEPURSESSHOPPING.COM, FASHION-MANIA.RU, FASHION-
 OPTIC.COM.UA, FRONSA.COM, FULLSNEAKER.COM,
 HELPSTAFFS.COM, HONTWATCHES.TO, IMIDGE.COM.UA,
 JULIABAGS.RU, KOLAMKOI.COM, KROSSOVKI-FASHION.RU,
 LACOSA-FASHION.RU, LIEBLINGSTASCHENSHOP.COM,
 LOFTYLITTLES.COM, LUX4SHOP.COM, LUXTIME.SU, LUXURY-
 BAGS-SALE.RU, LUXURYBRANDSHOP.RU a/k/a
 MYLUXURYBAGS.RU, LUXURYREPLICASOUTLET.COM,
 LUXURYREPLICASSALE.COM, LUXURYTASTICREPLICA.CO a/k/a
 LUXURYTASTICREPLICAS.CO, MAKWATCH.COM.UA,
 MARAGIFT.COM, MEGAREPLICAS.COM.BR, MENSLUXURY.SU, MK-
 FASHION.RU, MODAMALL.CN a/k/a MODECHINE.RU,
 MODECLOTHES.RU a/k/a PURSEMALL.CN a/k/a PURSEMALL.RU,
 MODNIE-SUMKI.COM, PLOMBIER-MONTESSON.COM,
 PURSESREPLICASHOP.COM, PURSEWORTHY.EE,
 RAYMENEZES.COM, REPLICABAGSHOP.RU,
 REPLICABAGSLATEST.COM, REPLICABAGSSELLING.COM,
 REPLICANEWBAGS.COM, REPLICASDERELOGIOS.COM.BR,
 REPLICASHOPINDIA.IN, REPLICASSHOPPING.RU,
 REPLICAWATCHES.WS, REPLICAWATCHREPORT.CO,
 REPTRIPLEAWATCH.CO, ROYALWATCHES.PK, SALEAAA.COM,
 SHOESHOTSHOPS.COM, SHOES-VIP.RU, SHOPINC.RU, SHOPPING-
 HANDBAGS.COM, SHOPREPLIKA.COM.UA, SNEAKERS-
 FASHION.RU, STYLEPER.KR, SUNGLASSES-ONLINE.RU,
 SWISSCOPIES.RU, TASCHENOUTLETWIEN.AT,
 THEMINIUNICORN.CO.ZA, THEPOTENTIALISTS.CA,
 TITONISTAS.COM, TUSANI-BIG-BEN.COM,
 VANTAGEPOINTSTABLE.COM, VILLAGE-OUTLET.RU,
 VIPSWATCH.RU, WATCHMANIA.RU, WATCHMARKAZ.PK,
 WHITESTORY.UA, WORLDSCAPESLGPLLC.COM, Z077.RU,
 ZAHIDGILL.COM, ZEALREPLICA.PL, and ZEDO-FASHION.COM, each
 an Individual, Partnership, or Unincorporated Association,
                   Defendants.
 ______________________________________________________________/

                COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

        Plaintiffs, Berluti SA (“Berluti”) and Louis Vuitton Malletier (“Louis Vuitton”)

 (collectively, “Plaintiffs”) 1 hereby sue Defendants, the Individuals, Partnerships, or

 Unincorporated Associations identified in the caption, which are set forth on Schedule “A”


 1
   Plaintiffs are subsidiaries of LVMH Moet Hennessy Louis Vuitton, SE, the world's leading
 luxury goods company.


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 hereto (collectively “Defendants”). Defendants are promoting, selling, offering for sale and/or

 distributing goods under and/or bearing counterfeits and confusingly similar imitations of

 Plaintiffs’ trademarks within this district through at least the commercial Internet websites

 operating under the domain names set forth on Schedule “A” hereto (the “Subject Domain

 Names”). In support of its claims, Plaintiffs allege as follows:

                                 JURISDICTION AND VENUE

        1.      This is an action for federal trademark counterfeiting and infringement, false

 designation of origin, cybersquatting, common law unfair competition, and common law

 trademark infringement, pursuant to 15 U.S.C. §§ 1114, 1116, 1125(a) and 1125(d), and The All

 Writs Act, 28 U.S.C §1651(a), and Florida’s common law. Accordingly, this Court has subject

 matter jurisdiction over this action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and

 1338. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’

 state law claims because those claims are so related to the federal claims that they form part of

 the same case or controversy.

        2.      Defendants are subject to personal jurisdiction in this district because they operate

 commercial websites accessible in this district, conduct business by registering and maintaining

 commercial Subject Domain Names registered within the United States and/or direct business

 activities towards consumers throughout the United States, including within the State of Florida

 and this district through at least the commercial Internet websites operating under the Subject

 Domain Names. 2


 2
   Some Defendants use their Subject Domain Names to act as supporting domain names to direct
 traffic to their fully-interactive, commercial websites operating under other Subject Domain
 Names, from which consumers can complete purchases. Some of the supporting domain names,
 when accessed directly, appear to be blog style or non-operating websites; however, when visited
 from a search engine such as Google, visitors are redirected to the fully-interactive websites
 operating under other Subject Domain Names. Other supporting domain names either


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         3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

 upon information and belief, aliens engaged in infringing activities and causing harm within this

 district by advertising, offering to sell and/or selling infringing products into this district.

                                          THE PLAINTIFFS

         4.      Berluti is a société anonyme organized under the laws of the Republic of France

 with its principal place of business located at 120 rue du Faubourg Saint-Honoré, F-75008 Paris,

 France. Berluti and its affiliated companies are, in part, engaged in the business of designing,

 manufacturing, marketing, and distributing throughout the world, including within this district, a

 variety of high quality luxury goods under multiple world famous common law and federally

 registered trademarks, including those identified in Paragraph 19.

         5.      Louis Vuitton is a société par actions simplifiée organized under the laws of the

 Republic of France with its principal place of business located at 2, rue du Pont-Neuf in Paris,

 France 75034. Louis Vuitton operates boutiques throughout the world, including within this

 district. Louis Vuitton is, in part, engaged in the business of manufacturing, marketing, and

 distributing throughout the world, including within this district, a variety of high quality luxury

 goods under multiple world famous common law and federally registered trademarks, including

 those identified in Paragraph 28.


 automatically redirect and forward to a fully-interactive, commercial Internet website operating
 under one of the Subject Domain Names or redirect a consumer to a fully-interactive,
 commercial Internet website operating under one of the Subject Domain Names upon clicking a
 product or link on the website. Accordingly, the web pages for the Subject Domain Names which
 operate as redirecting websites are included with the web pages to which those sites redirect, as
 shown in Composite Exhibit “3” attached hereto.

 Some Subject Domain Names do not offer prices for products and/or the shopping cart feature;
 rather, consumers are able to browse the listings of Plaintiffs’ branded products online via the
 websites, ultimately allowing customers to inquire and make direct purchases of Plaintiffs’
 branded products via electronic communication, including e-mail and/or private messaging
 services such as WhatsApp and WeChat, or via phone.


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         6.      Plaintiffs offer for sale and sell their trademarked goods within the State of

 Florida, including this district, through their boutiques, prestigious department stores, and their

 online retail websites. Defendants, through the advertising, offering for sale, and sale of

 counterfeit and infringing versions of Plaintiffs’ branded products, are directly, and unfairly,

 competing with Plaintiffs’ economic interests in the State of Florida and causing Plaintiffs harm

 within this jurisdiction.

         7.      Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

 sustained violations of their trademark rights at the hands of counterfeiters and infringers, such

 as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’ trademarks for the

 twin purposes of (i) duping and confusing the consuming public and (ii) earning substantial

 profits across their economic stores.

         8.      In order to combat the indivisible harm caused by the combined actions of

 Defendants and others engaging in similar conduct, each year Plaintiffs expend significant

 resources in connection with trademark enforcement efforts, including legal fees, investigative

 fees, and support mechanisms for law enforcement, such as field training guides and seminars.

 The exponential growth of counterfeiting over the Internet has created an environment that

 requires Plaintiffs to file a number of lawsuits, often it later turns out, against the same

 individuals and groups, in order to protect both consumers and itself from the ill effects of

 confusion and the erosion of the goodwill connected to Plaintiffs’ brand.

                                         THE DEFENDANTS

         9.      Defendants operate through domain names registered with registrars in multiple

 countries, including the United States, and are comprised of individuals, partnerships, and/or

 business entities of unknown makeup, whom, upon information and belief, likely reside and/or




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 operate in foreign jurisdictions, or redistribute products from the same or similar sources in those

 locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil Procedure

 17(b). Defendants direct their business activities towards consumers throughout the world,

 including the United States and within this district through the simultaneous operation of at least

 the commercial Internet websites existing under the Subject Domain Names.

           10.   Defendants use aliases in conjunction with the operation of their businesses,

 including but not limited to those identified by the same Defendant Number on Schedule “A”

 hereto.

           11.   Defendants are directly and personally contributing to, inducing and engaging in

 the sale of counterfeit branded products as alleged herein, often times as partners, co-

 conspirators and/or suppliers.

           12.   Defendants are part of an ongoing scheme to create and maintain an illegal

 marketplace enterprise on the World Wide Web, which (i) confuses consumers regarding the

 source of Defendants’ goods for profit, and (ii) expands the marketplace for illegal, counterfeit

 versions of Plaintiffs’ branded goods while shrinking the legitimate marketplace for Plaintiffs’

 genuine branded goods. The natural and intended byproduct of Defendants’ actions is the

 erosion and destruction of the goodwill associated with Plaintiffs’ famous names and associated

 trademarks, as well as the destruction of the legitimate market sector in which Plaintiffs operate.

           13.   Defendants are the past and present controlling forces behind the operation of the

 Internet websites operating under at least the Subject Domain Names.

           14.   Defendants directly engage in unfair competition with Plaintiffs by (i) advertising,

 offering for sale and/or selling goods bearing counterfeits and infringements of one or more of

 Plaintiffs’ trademarks to consumers within the United States and this district through at least the




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 commercial websites operating under the Subject Domain Names and corresponding website

 Uniform Resource Locator (“URL”), and any additional domains and websites, and corresponding

 website URLs not yet known to Plaintiffs and (ii) creating and maintaining an illegal

 marketplace enterprise for the purpose of diverting business from Plaintiffs’ legitimate

 marketplace for their genuine goods. Defendants have purposefully directed some portion of

 their illegal activities towards consumers in the State of Florida through the advertisement, offer

 to sell, and/or sale of counterfeit versions of Plaintiffs’ branded goods into the State and by

 operating an illegal marketplace enterprise which impacts and interferes with commerce

 throughout the United States, including within the State of Florida.

        15.     Defendants have registered, established or purchased, and maintained their

 respective Subject Domain Names, and the websites operating thereunder. Upon information and

 belief, many Defendants have engaged in fraudulent conduct with respect to the registration of

 the Subject Domain Names by providing false and/or misleading information to their various

 registrars during the registration or maintenance process. Upon information and belief,

 Defendants have registered and/or maintained their Subject Domain Names for the sole purpose

 of engaging in illegal counterfeiting activities.

        16.     Defendants will likely continue to register or acquire new domain names for the

 purpose of selling and/or offering for sale goods bearing counterfeit and confusingly similar

 imitations of one or more of Plaintiffs’ trademarks unless preliminarily and permanently

 enjoined. Moreover, Defendants will likely continue to maintain and grow their illegal

 marketplace enterprise at Plaintiffs’ expense unless preliminarily and permanently enjoined.




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         17.     Defendants’ entire Internet-based website businesses amount to nothing more

 than illegal operations established and operated in order to infringe the intellectual property

 rights of Plaintiffs and others.

         18.     Defendants’ business names, i.e., the Subject Domain Names, and any other

 domain names and aliases used in connection with the sale of counterfeits under Plaintiffs’

 trademarks, are essential components of Defendants’ counterfeiting and infringement activities

 and are one of the means by which Defendants further their counterfeiting and infringement

 scheme and cause harm to Plaintiffs. Moreover, Defendants are using Plaintiffs’ famous names

 and trademarks to drive Internet consumer traffic to their websites operating under the Subject

 Domain Names, thereby creating and increasing the value of the Subject Domain Names and

 decreasing the size and value of Plaintiffs’ legitimate consumer marketplace at Plaintiffs’

 expense.

                             COMMON FACTUAL ALLEGATIONS

         Berluti’s Trademark Rights

         19.     Berluti is the owner of the following trademarks which are valid and registered on

 the Principal Register of the United States Patent and Trademark Office (the “Berluti Marks”).

                   Registration     Registration
   Trademark                                                      Class(es) / Relevant Goods
                    Number             Date
                                      January 3,
   BERLUTI           1,871,385                     IC 025. shoes [ and slippers ].
                                        1995
                                                  IC 018. Goods made of leather and imitation leather,
                                                  namely, handbags, purses, [ attache cases, ] briefcases,
                                                  business card cases, credit card cases, [ calling card
                                                  cases, telephone card cases, ] document cases, [ vanity
                                    September 16,
   BERLUTI           3,502,025                    cases sold empty, ] toiletry cases sold empty, overnight
                                        2008
                                                  cases; small goods made of leather or imitation leather,
                                                  namely, wallets, key cases; [ animal skins and hides;
                                                  luggage trunks; ] suitcases [ ; umbrellas ] [ ; parasols;
                                                  walking sticks ]



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                                         IC 003. [ Perfumes; toilet water; eau de Cologne; soaps
                                         for personal use; essential oils for cosmetic purposes;
                                         deodorants for personal use; cosmetics; cosmetic shower
                                         and bath preparations and gels; cosmetic creams and
                                         lotions for the body, face and hair; shampoos; shaving
                                         preparations; aftershave gels, balms and lotions; shoe
                                         wax; waxes for cobblers; ] boot creams; creams for
                                         leather; leather preserving polishes.
                                         IC 009. Bags and valises for photographic and
                                         cinematographic apparatus; [ portable telephones; ]
                                         accessories, namely, covers, [ casings, hand straps and
                                         neck straps ] for devices, namely, mobile telephones,
                                         laptop computers, [ personal digital assistants, digital
                                         players, photographic, and cinematographic apparatus;
                                         blank USB flash drives; earphones; ] spectacles;
                                         sunglasses; spectacle cases.
                                         IC 014. Jewelry; costume jewelry; jewelry, namely, [,
                            December 11, earrings, rings, ] cufflinks, bracelets, [ trinkets in the
    BERLUTI     4,255,851
                               2012      nature of rings, brooches, chains, necklaces, tie pins,
                                         medallions; ] key rings of precious metal; [ horological
                                         and chronometric instruments, namely, watches, wrist
                                         watches, watch straps, clocks, small clocks, chronograph
                                         watches, chronometers, alarm clocks; boxes and cases
                                         for clocks; ] boxes and cases for watches.
                                         IC 021. Brush-making materials; [ cleaning brushes for
                                         household use; ] chamois leathers for cleaning; non-
                                         electric wax-polishing appliances for shoes, namely,
                                         shoe polish applicators not containing shoe polish; shoe
                                         horns; [ boot jacks; ] shoe trees; brushes for footwear;
                                         shoe brushes; [ vaporizers for perfume sold empty;
                                         shaving brushes, shaving brush stands ].
                                         IC 025. Clothing and underclothing, namely, shirts, tee-
                                         shirts, jumpers, vests, [ skirts, frocks, ] trousers, coats,
                                         jackets, belts for clothing, scarves, sashes for wear,
                                         gloves, neckties, socks, [ lingerie, ] bathing suits, [
                                         pajamas; ] footwear; headwear.
                                         IC 035. Retail store services and online retail store
                                         services featuring clothing, footwear, headwear, leather
                                         goods, optical goods, jewelry, watches and luggage;
    BERLUTI     4,970,845   June 7, 2016 presentation of goods, namely, clothing, footwear,
                                         headwear, optical goods, leather goods, jewelry, watches
                                         and luggage, on all communication media for retail
                                         purposes.




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  The Berluti Marks are used in conjunction with the manufacture and distribution of high quality

  goods in the categories identified above. True and correct copies of the Certificates of

  Registration for the Berluti Marks are attached hereto as Composite Exhibit “1.”

          20.       Long before the Defendants began their infringing activities complained of

  herein, the Berluti Marks have been used by Berluti in interstate commerce to identify and

  distinguish Berluti’s high quality goods for an extended period of time.

          21.       The Berluti Marks have never been assigned or licensed to any of the Defendants

  in this matter.

          22.       The Berluti Marks are symbols of Berluti’s quality, reputation and goodwill.

  Berluti has continuously used the Berluti Marks since registration.

          23.       Further, Berluti and its affiliated companies expend substantial resources

  developing, advertising and otherwise promoting the Berluti Marks.

          24.       Berluti and its affiliated companies extensively use, advertise, and promote the

  Berluti Marks in the United States in association with the sale of high quality goods and has

  carefully monitored and policed the use of the Berluti Marks.

          25.       As a result of Berluti efforts, members of the consuming public readily identify

  merchandise bearing or sold under the Berluti Marks as being high quality goods sponsored and

  approved by Berluti.

          26.       Accordingly, the Berluti Marks have achieved secondary meaning as identifiers of

  high quality goods.

          27.       Genuine goods bearing the Berluti Marks are widely legitimately advertised,

  promoted, and sold by Berluti and its affiliated companies and authorized distributors via the

  Internet. Over the course of the past several years, visibility on the Internet, particularly via




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  Internet search engines such as Google, Yahoo! and Bing has become increasingly important to

  Berluti’s overall marketing and consumer education efforts. Thus, Berluti and its affiliated

  companies expend significant monetary resources on Internet marketing and consumer

  education, including search engine optimization (“SEO”) strategies. Those strategies allow

  Berluti and its authorized retailers to fairly and legitimately educate consumers about the value

  associated with the Berluti brand and the goods sold thereunder.

         Louis Vuitton’s Trademark Rights

         28.     Louis Vuitton is the owner of the following trademarks which are valid and

  registered on the Principal Register of the United States Patent and Trademark Office (the “Louis

  Vuitton Marks”).

               Registration    Registration
Trademark                                                    Class(es) / Relevant Goods
                Number            Date
                                             IC 18: trunks, valises, traveling bags, satchels, hat boxes
                               September 20,
                 0,297,594                   and shoe boxes used for luggage, hand bags, and
                                   1932
                                             pocketbooks.
  LOUIS                         August 10,
                 1,045,932                    IC 18: luggage and ladies' handbags.
 VUITTON                          1976
                                             IC 18: trunks, valises, traveling bags, satchels, hat boxes
                                January 10,
                 1,519,828                   and shoe boxes used for luggage, hand bags,
                                   1989
                                             pocketbooks.
                                             IC 16: stationery, pads of stationery, calendars, indexes
                                             for articles made for travellers, notebooks, envelopes;
                                             writing paper, office requisites in the nature of writing
                               September 28,
                 1,794,905                   pads, pencil holders, pen cases, pencil cases, nibs, nibs
                                   1993
                                             of gold, inkwells, inkstands.
                                             IC 25: clothing for men and women; namely belts,
                                             shawls, sashes, scarves; footwear headgear.
                               November 28, IC 14: jewelry, watches and straps for wrist watches.
                 1,938,808
                                  1995      IC 24: travel blankets made of textile.




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                                        IC 14: watches and straps for wrist watches.
                                        IC 16: catalogues featuring luggage and travel
                                        accessories, bags, small leather goods, and garments;
                                        notebooks, anthologies, and pamphlets referring to
                                        travel; calendars; telephone indexes; fountain pens,
                                        ballpoint pens, nibs, covers for pocket and desk diaries,
                                        and checkbook holders.
                                        IC 18: trunks; traveling trunks; suitcases; traveling bags;
                                        luggage; garment bags for travel; hat boxes for travel;
  LOUIS
             1,990,760   August 6, 1996 shoe bags for travel; umbrellas; animal carriers;
 VUITTON
                                        rucksacks; haversacks; leather or textile shopping bags;
                                        beach bags; handbags; vanity cases sold empty; attaché
                                        cases; tote bags, travel satchels; clutch bags; briefcases;
                                        wallets; pocket wallets; credit card cases; business card
                                        cases; bill and card holders; checkbook holders; key
                                        cases; change purses; briefcase-type portfolios.
                                        IC 24: travel blankets
                                        IC 25: shirts; sweatshirts; polo shirts; T-shirts; headwear;
                                        jackets; ties; belts; shawls; scarves.
                                        IC 14: goods made of precious metals, namely, shoe
                                        ornaments, ornamental pins; jewelry, namely, rings, ear
                                        rings, cufflinks, bracelets, charms, necklaces; horological
                                        instruments, straps for watches, watches and wrist-
                                        watches, and cases for watches.
                                        IC 18: goods made of leather or imitations of leather are
                                        not included in other classes, namely, boxes made from
                                        leather; trunks, valises, traveling bags, luggage for travel,
                                        garment bags for travel, vanity cases sold empty,
             2,177,828   August 4, 1998
                                        rucksacks, hand bags, beach bags, shopping bags,
                                        shoulder bags, attaché cases, briefcases, and fine leather
                                        goods, namely, pocket wallets, purses, leather key
                                        holders, business card cases, calling card cases, and
                                        credit card cases, umbrellas.
                                        IC 25: clothing and underwear, namely, shirts,
                                        waistcoats, raincoats, skirts, coats, pullovers, trousers,
                                        dresses, jackets, shawls, stoles, scarves, neckties, pocket
                                        squares, belts, shoes, boots, and sandals.




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                                       IC 14: jewelry, namely, rings, ear rings, bracelets,
                                       charms, necklaces, horological instruments, straps for
                                       watches, watches, and wrist-watches, and cases for
                                       watches.
                                       IC 18: goods made of leather or imitations of leather are
                                       not included in other classes, namely, boxes made from
                                       leather; trunks, valises, traveling bags, luggage for travel,
                                       garment bags for travel, vanity cases sold empty,
                          August 18,
             2,181,753                 rucksacks, hand bags, beach bags, shopping bags,
                             1998
                                       shoulder bags, attaché cases, briefcases, and fine leather
                                       goods, namely, pocket wallets, purses, leather key
                                       holders, business card cases, calling card cases, credit
                                       card cases, and umbrellas.
                                       IC 25: clothing and underwear, namely, shirts,
                                       waistcoats, raincoats, skirts, coats, pullovers, trousers,
                                       dresses, jackets, shawls, stoles, scarves, neckties, pocket
                                       squares, belts, shoes, boots, and sandals.
                                       IC 25: Clothing, namely, sweaters, shirts, sweatshirts,
                                       polo shirts, t-shirts, suits, waistcoats, raincoats, skirts,
                                       coats, pullovers, trousers, dresses, jackets, shawls, stoles,
             2,361,695   June 27, 2000
                                       scarves, neckties, pocket squares, pocket handkerchief
                                       squares for wear, gloves, ties, belts, bathing suits, shoes,
                                       boots and sandals, and hats.
                                       IC 18: goods made of leather or imitations of leather not
                                       included in other classes, namely, boxes of leather
                                       principally used for travel purposes, trunks, valises,
                          August 22, traveling bags, * traveling sets for containing cosmetics
             2,378,388
  LOUIS                      2000      and jewelry, * handbags, beach bags, shopping bags,
 VUITTON                               shoulder bags, brief cases, pouches, fine leather goods
  PARIS                                namely, pocket wallets, purses, key cases, business card
                                       cases, credit card cases.




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                                       IC 14: jewelry including rings, earrings, cuff links,
                                       bracelets, charms, necklaces, and medallions;
                                       horological and chronometric instruments and apparatus,
                                       namely, watches,
                                       IC 18: travel bags, travel bags made of leather; luggage
                                       trunks and valises, garment bags for travel, vanity-cases
                                       sold empty; rucksacks, shoulder bags, handbags; attaché
                          October 14, cases, briefcases, drawstring pouches, pocket wallets,
             2,773,107
                             2003      purses, umbrellas, business card cases made of leather or
                                       of imitation leather, credit card cases made of leather or
                                       of imitation leather; key holders made of leather or of
                                       imitation leather.
                                       IC 25: clothing, namely, shirts, T-shirts, belts, scarves,
                                       neck ties, shawls, skirts, raincoats, overcoats, trousers,
                                       jeans, pullovers, frocks, highheeled shoes, low-heeled
                                       shoes, boots, tennis shoes; hats
                                       IC 09: spectacles, sunglasses and spectacle cases.
                                       IC 14: jewelry, namely, rings, earrings and ear clips, cuff
                                       links, bracelets, charms, necklaces, tie pins, medallions;
                                       horological and chronometric apparatus and instruments,
                                       namely, watches, watch cases, alarm clocks; jewelry
                                       boxes of precious metal, their alloys or coated therewith.
                                       IC 18: leather and imitation leather products, namely,
                                       traveling bags, traveling sets comprised of bags or
                                       luggage, trunks and suitcases, garment bags for travel
             3,107,072   June 20, 2006
                                       purposes; vanity cases sold empty, rucksacks, shoulder
                                       bags, handbags, attaché cases, document wallets and
                                       briefcases made of leather, pouches made of leather,
                                       wallets, purses, key cases, business card cases, credit
                                       card cases; umbrellas.
                                       IC 25: clothing and undergarments, namely, shirts, tee-
                                       shirts, belts, scarves, neckties, shawls, skirts, raincoats,
                                       overcoats, trousers, denim trousers, dresses, jackets,
                                       sashes for wear, bathing suits, shoes, boots.




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                                      IC 03: soaps for personal use; perfumery; essential oils;
                                      cosmetics; creams for the hair, face, and body; lotions
                                      for the hair, face, and body; shower and bath gels;
                                      shower and bath preparations; shampoos; make-up
                                      preparations, namely, foundations, lipsticks, eye
                                      shadows, mascara, make-up powder, and nail polish.
                                      IC 09: sunglasses; spectacles; optical lenses; spectacle
                                      cases; telephones; mobile telephones; smart phones; PC
                                      tablets; personal digital assistants; MP3 players;
                                      accessories for telephones, mobile telephones, smart
                                      phones, PC tablets, personal digital assistants, and MP3
                                      players, namely, hands-free kits for telephones, batteries,
                                      covers, housings, façades, chargers, hand straps, and
                                      neck straps.
                                      IC 14: jewelry; key rings of precious metal; tie pins;
                                      medallions; jewelry boxes; watches; watch bands; alarm
                                      clocks; cases for timepieces.
                                      IC 16: printed matter, namely, pamphlets, catalogs, and
                                      books in the field of travel, luggage, luxury goods,
                                      fashion, clothing, sports, the arts; publications, namely,
                                      brochures and booklets in the field of travel, luggage,
                                      luxury goods, fashion, clothing, sports, the arts;
                         August 21,
             4,192,541                stationery; stationery articles, namely, note pads, writing
                           2012
                                      books, drawing books, calendars, agendas, notebooks,
                                      envelopes, letter paper, and index cards; covers for
                                      diaries, indexes, and pads; office requisites, namely,
                                      letter trays, paper cutters, pencils, inkstands, inkwells,
                                      paperweights, pencil holders, pen holders, writing pads,
                                      pens, balls, and nibs for pens; postcards; paper labels;
                                      newspapers; printed documents, namely, printed
                                      certificates.
                                      IC 18: boxes of leather or imitation leather for packaging
                                      and carrying goods; traveling bags; leather traveling sets
                                      of luggage; trunks; suitcases; garment bags for travel;
                                      vanity cases sold empty; toiletry bags sold empty;
                                      backpacks; handbags; attaché cases; leather document
                                      cases; wallets; purses; leather key cases; umbrellas.
                                      IC 24: textiles and textile goods, namely, bath linen, bed
                                      linen, table linen, towels, bed covers, textile table cloths.
                                      IC 25: clothing, namely, underwear, shirts, tee-shirts,
                                      pullovers, skirts, dresses, trousers, coats, jackets, belts
                                      for clothing, scarves, sashes for wear, gloves, neckties,
                                      socks, bathing suits; footwear; headwear.
                                      IC 34: cigar and cigarette cases of leather and imitation
                                      leather.




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                                      IC 09: optical apparatus, namely, binoculars; blank USB
                                      sticks; spectacles; sunglasses; spectacle frames; spectacle
                                      glasses; spectacle cases; accessories for telephones,
                                      mobile phones, smart phones, tablet devices, PDAs, and
                                      MP3 players, namely, covers, neck straps, neck cords,
                                      and bags and cases specially adapted for holding or
                                      carrying portable telephones and telephone equipment
                                      and accessories.
                                      IC 16: paper bags; boxes of cardboard or paper;
                                      cardboard and paperboard envelopes and pouches for
                                      packaging; plastic materials for packaging, namely,
                                      bags; posters; pamphlets referring to travel; postcards;
                                      catalogs featuring luggage, travel accessories, bags,
                                      small leather goods, and clothing; paper labels; trading
                                      cards; greeting cards; business cards; invitation cards;
                                      printed publications, namely, books, newspapers,
                                      leaflets, and magazines featuring luggage, travel
                                      accessories, purses, small leather goods, and clothing;
                                      bookbinding materials; printed photographs; photograph
  LOUIS                               albums; stationery, namely, note pads, desk pads, writing
             4,530,921   May 13, 2014
 VUITTON                              pads, drawing pads, envelopes, note paper; calendars;
                                      pocket calendars; note books; telephone indexes; diary
                                      covers; diaries; office requisites, namely, letter trays,
                                      paper knives, ink stands, inkwells, paper weights, pencil
                                      holders, pen holders, pencil tubs, blotting pads, pencils,
                                      fountain pens, rubber erasers, pen cases; printing types;
                                      printing blocks; table linens of paper.
                                      IC 25: clothing, namely, pullovers, vests, shirts, tee-
                                      shirts, trousers, jackets, suits, coats, rain coats,
                                      waterproof jackets, waterproof pants, overcoats, parkas,
                                      skirts, dresses, pajamas, dressing gowns, nightgowns,
                                      robe, gloves, neck ties, belts for clothing, leather belts,
                                      scarves, pocket squares, sashes for wear, shawls,
                                      stockings, socks, tights, braces for clothing, suspenders,
                                      stoles, underwear, lingerie, bathing suits; headwear;
                                      shoes; slippers; boots; half-boots.
                                      IC 26: buttons; hooks and eyes; shoe buckles; hair
                                      accessories, namely, hair pins, barrettes, hair bows, hair
                                      clips, hair bands, hair wraps; hair ornaments; brooches
                                      for clothing; clothing fasteners, namely, scarf holders.




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                                             IC 09: Optical apparatus, namely, binoculars; blank USB
                                             sticks; spectacles; sunglasses; spectacle frames; spectacle
                                             glasses; spectacle cases; accessories for telephones,
                                             mobile phones, smart phones, tablet devices, PDAs, and
                                             MP3 players, namely, covers, neck straps, neck cords,
                                             and bags and cases specially adapted for holding or
                                             carrying portable telephones and telephone equipment
                                             and accessories.
                                             IC 16: Paper bags, boxes of cardboard or paper,
                                             cardboard and paperboard envelopes and pouches for
                                             packaging; plastic materials for packaging, namely,
                                             bags; posters; pamphlets referring to travel; postcards;
                                             catalogs featuring luggage, travel accessories, bags,
                                             small leather goods, and clothing; paper labels; trading
                                             cards; greeting cards; business cards; invitation cards;
                               September 30,
                 4,614,736                   printed publications, namely, books, newspapers,
                                   2014
                                             leaflets, and magazines featuring luggage, travel
                                             accessories, purses, small leather goods, and clothing;
                                             bookbinding materials; printed photographs; photograph
                                             albums; stationery, namely, note pads, desk pads, writing
                                             pads, drawing pads, envelopes, note paper; calendars;
                                             pocket calendars; note books; telephone indexes; diary
                                             covers; diaries; office requisites, namely, letter trays,
                                             paper knives, ink stands, inkwells, paper weights, pencil
                                             holders, pen holders, pencil tubs, blotting pads, pencils,
                                             fountain pens, rubber erasers, pen cases; printing types;
                                             printing blocks; table linens of paper.
                                             IC 26: Buttons; hooks and eyes; shoe buckles; hair
                                             accessories, namely, hair pins, barrettes, hair bows, hair
                                             clips, hair bands, hair wraps; hair ornaments; brooches
                                             for clothing; clothing fasteners, namely, scarf holders.

  The Louis Vuitton Marks are used in conjunction with the manufacture and distribution of high

  quality goods in the categories identified above. True and correct copies of the Certificates of

  Registration for the Louis Vuitton Marks are attached hereto as Composite Exhibit “2.”

         29.     Long before the Defendants began their infringing activities complained of

  herein, the Louis Vuitton Marks have been used by Louis Vuitton in interstate commerce to

  identify and distinguish Louis Vuitton’s high quality goods for an extended period of time.

         30.     The Louis Vuitton Marks have never been assigned or licensed to any of the

  Defendants in this matter.


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         31.     The Louis Vuitton Marks are symbols of Louis Vuitton’s quality, reputation and

  goodwill. Louis Vuitton has continuously used the Louis Vuitton Marks since registration.

         32.     Further, Louis Vuitton expends substantial resources developing, advertising and

  otherwise promoting the Louis Vuitton Marks.

         33.     Louis Vuitton extensively uses, advertises, and promotes the Louis Vuitton Marks

  in the United States in association with the sale of high quality goods and has carefully

  monitored and policed the use of the Louis Vuitton Marks.

         34.     As a result of Louis Vuitton’s efforts, members of the consuming public readily

  identify merchandise bearing or sold under the Louis Vuitton Marks as being high quality goods

  sponsored and approved by Louis Vuitton.

         35.     Accordingly, the Louis Vuitton Marks have achieved secondary meaning as

  identifiers of high quality goods.

         36.     Genuine goods bearing the Louis Vuitton Marks are widely legitimately

  advertised, promoted, and sold by Louis Vuitton and its authorized distributors via the Internet.

  Over the course of the past several years, visibility on the Internet, particularly via Internet

  search engines such as Google, Yahoo! and Bing has become increasingly important to Louis

  Vuitton’s overall marketing and consumer education efforts. Thus, Louis Vuitton expends

  significant monetary resources on Internet marketing and consumer education, including SEO

  strategies. Those strategies allow Louis Vuitton and its authorized retailers to fairly and

  legitimately educate consumers about the value associated with the Louis Vuitton brand and the

  goods sold thereunder.




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         Defendants’ Infringing Activities

         37.     Defendants are promoting and advertising, distributing, selling and/or offering for

  sale goods in interstate commerce using counterfeits and confusingly similar imitations of the

  Berluti and/or Louis Vuitton Marks (the “Counterfeit Goods”) through the commercial Internet

  websites operating under the Subject Domain Names. True and correct copies of the web pages

  reflecting samples of the Internet websites operating under the Subject Domain Names

  displaying Plaintiffs’ branded items offered for sale are attached hereto as Composite Exhibit

  “3.” Specifically, Defendants are using one or more of the Berluti Marks and/or the Louis

  Vuitton Marks (collectively, “Plaintiffs’ Marks”) to initially attract online consumers and drive

  them to Defendants’ ecommerce stores operating under the Subject Domain Names. Defendants

  are using identical copies of one or more of Plaintiffs’ Marks for different quality goods.

  Plaintiffs have used Plaintiffs’ Marks extensively and continuously before Defendants began

  offering counterfeit and confusingly similar imitations of Plaintiffs’ merchandise.

         38.     Defendants’ Counterfeit Goods are of a quality substantially different than that of

  Plaintiffs’ genuine goods. Defendants are actively using, promoting and otherwise advertising,

  distributing, selling, and/or offering for sale substantial quantities of their Counterfeit Goods

  with the knowledge and intent that such goods will be mistaken for the genuine high quality

  products offered for sale by Plaintiffs despite Defendants’ knowledge that they are without

  authority to use Plaintiffs’ Marks. The net effect of Defendants’ actions is likely to cause

  confusion of consumers at the time of initial interest, sale, and in the post-sale setting, who will

  believe all of Defendants’ goods offered for sale in Defendants’ ecommerce stores are genuine

  goods originating from, associated with, and/or approved by Plaintiffs.




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         39.     Defendants advertise their ecommerce stores, including their products offered for

  sale, to the consuming public via at least their websites operating under the Subject Domain

  Names. In so advertising their stores and products, Defendants improperly and unlawfully use

  one or more of Plaintiffs’ Marks without Plaintiffs’ permission.

         40.     As part of their overall infringement and counterfeiting scheme, most Defendants

  are, upon information and belief, concurrently employing and benefiting from substantially

  similar, and often times coordinated, advertising and SEO strategies based, in large measure,

  upon an illegal use of counterfeits and infringements of one or more of Plaintiffs’ Marks.

  Specifically, Defendants are using counterfeits and infringements of Plaintiffs’ famous names

  and Plaintiffs’ Marks in order to make their websites selling illegal goods appear more relevant

  and attractive to consumers searching for both Plaintiffs’ and non-Plaintiffs’ goods and

  information online. By their actions, Defendants are contributing to the creation and

  maintenance of an illegal marketplace operating in parallel to the legitimate marketplace for

  Plaintiffs’ genuine goods. Defendants are causing, individual, concurrent and indivisible harm to

  Plaintiffs and the consuming public by (i) depriving Plaintiffs of their right to fairly compete for

  space online and within search engine results and reducing the visibility of Plaintiffs’ genuine

  goods on the World Wide Web, (ii) causing an overall degradation of the value of the goodwill

  associated with Plaintiffs’ Marks, (iii) increasing Plaintiffs’ overall cost to market their goods

  and educate consumers about their brand via the Internet, and/or (iv) maintaining an illegal

  marketplace enterprise which perpetuates the ability of Defendants and future entrants to that

  marketplace to confuse consumers and harm Plaintiffs with impunity.

         41.     Defendants are concurrently conducting and directing their counterfeiting and

  infringing activities toward consumers and likely causing unified harm, within this district and




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  elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiffs and the

  consuming public for Defendants’ own benefit.

         42.     At all times relevant hereto, Defendants in this action had full knowledge of

  Plaintiffs’ ownership of Plaintiffs’ Marks, including their exclusive rights to use and license such

  intellectual property and the goodwill associated therewith.

         43.     Defendants’ use of Plaintiffs’ Marks, including the promotion and advertisement,

  reproduction, distribution, sale, and/or offering for sale of their Counterfeit Goods, is without

  Plaintiffs’ consent or authorization.

         44.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ goodwill and reputation. If Defendants’

  intentional counterfeiting and infringing activities are not preliminarily and permanently

  enjoined by this Court, Plaintiffs and the consuming public will continue to be harmed.

         45.     Defendants’ above-identified infringing activities are likely to cause confusion,

  deception and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers into believing there is a connection or association between Plaintiffs’ genuine goods

  and Defendants’ Counterfeit Goods, which there is not.

         46.     Further, Defendants 1-26 have registered their respective Subject Domain

  Name(s), using marks that are nearly identical and/or confusingly similar to at least one of

  Plaintiffs’ Marks (the “Cybersquatted Subject Domain Names”).

         47.     Defendants 1-26 do not have, nor have they ever had, the right or authority to use

  Plaintiffs’ Marks. Further, Plaintiffs’ Marks have never been assigned or licensed to be used on




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  any of the websites, including the websites operating under the Cybersquatted Subject Domain

  Names.

         48.     Defendants 1-26 have provided false and/or misleading contact information when

  applying for the registration of the Cybersquatted Subject Domain Names, or have intentionally

  failed to maintain accurate contact information with respect to the registration of the

  Cybersquatted Subject Domain Names.

         49.     Defendants 1-26 have never used any of the Cybersquatted Subject Domain

  Names in connection with a bona fide offering of goods or services.

         50.     Defendants 1-26 have not made any bona fide non-commercial or fair use of

  Plaintiffs’ Marks on a website accessible under any of the Cybersquatted Subject Domain

  Names.

         51.     Upon information and belief, Defendants 1-26 have intentionally incorporated

  Plaintiffs’ Marks in their Cybersquatted Subject Domain Names to divert consumers looking for

  Plaintiffs’ Internet websites to their own Internet websites for commercial gain.

         52.     Given the visibility of Defendants’ various websites and the similarity of their

  actions, it is clear Defendants are either related or, at a minimum, cannot help but know of each

  other’s existence and the unified harm likely to be caused to Plaintiffs’ and the overall consumer

  market in which they operate as a result of Defendants’ concurrent actions.

         53.     Although some Defendants may be physically acting independently, they may

  properly be deemed to be acting in concert because the combined force of their actions serves to

  multiply the harm caused to Plaintiffs.

         54.     Plaintiffs have no adequate remedy at law.




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         55.     Plaintiffs are suffering irreparable injury and have suffered substantial damages as

  a result of Defendants’ unauthorized and wrongful use of Plaintiffs’ Marks. If Defendants’

  counterfeiting and infringing, cybersquatting, and unfairly competitive activities, and their illegal

  marketplace enterprise, are not preliminarily and permanently enjoined by this Court, Plaintiffs

  and the consuming public will continue to be harmed.

         56.     The harm and damage sustained by Plaintiffs have been directly and proximately

  caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers to sell, and

  sale of their Counterfeit Goods and by the creation, maintenance and very existence of

  Defendants’ illegal marketplace enterprise.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         57.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 56 above.

         58.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeits, copies, and/or colorable imitations of Plaintiffs’

  Marks in commerce in connection with the promotion, advertisement, distribution, sale and/or

  offering for sale of the Counterfeit Goods.

         59.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale and/or distributing products bearing one or more of Plaintiffs’ Marks.

  Defendants are continuously infringing and inducing others to infringe Plaintiffs’ Marks by using

  them to advertise, promote, sell and/or offer to sell goods bearing Plaintiffs’ Marks.

         60.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.



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         61.       Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damage and irreparable harm to Plaintiffs and are unjustly enriching Defendants

  at Plaintiffs’’ expense.

         62.       Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of Plaintiffs’ Marks in violation of Plaintiffs’ rights under § 32 of the Lanham Act,

  15 U.S.C. § 1114.

         63.       Plaintiffs’ have suffered and will continue to suffer irreparable injury due to

  Defendants’ above described activities if Defendants are not preliminarily and permanently

  enjoined.

                     COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         64.       Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 56 above.

         65.       Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

  one or more of Plaintiffs’ Marks have been widely advertised and offered for sale throughout the

  United States.

         66.       Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

  one or more of Plaintiffs’ Marks are virtually identical in appearance to Plaintiffs’ genuine

  goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,

  Defendants’ activities are likely to cause confusion in the trade and among the general public as

  to at least the origin or sponsorship of their Counterfeit Goods.

         67.       Defendants, have used in connection with their advertisement, offer for sale, and

  sale of the Counterfeit Goods, false designations of origin and false descriptions and

  representations, including words or other symbols and trade dress which tend to falsely describe



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  or represent such goods and have caused such goods to enter into commerce with full knowledge

  of the falsity of such designations of origin and such descriptions and representations, all to

  Plaintiffs’ detriment

         68.      Defendants have authorized infringing uses of one or more of Plaintiffs’ Marks, in

  Defendants’ advertisement and promotion of their counterfeit and infringing branded products.

  Defendants have also misrepresented to members of the consuming public that the Counterfeit

  Goods being advertised and sold by them are genuine, non-infringing goods.

         69.      Additionally, many Defendants are using counterfeits and infringements of one or

  more of Plaintiffs’ Marks in order to unfairly compete with Plaintiffs and others for space within

  organic search engine and social media results, thereby jointly depriving Plaintiffs of a valuable

  marketing and educational tool which would otherwise be available to Plaintiffs, and reducing

  the visibility of Plaintiffs’ genuine goods on the World Wide Web and across social media

  platforms.

         70.      Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         71.      Plaintiffs have no adequate remedy at law and has sustained indivisible injury and

  damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this

  Court, Plaintiffs will continue to suffer irreparable injury to its goodwill and business reputation

  as well as monetary damages.

                 COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
               PURSUANT TO §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))
                               (Against Defendants 1-26 only)

         72.      Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 56 above.




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          73.     At all times relevant hereto, Plaintiffs have been and still are the owners of the

  rights, title and interest in and to Plaintiffs’ Marks

          74.     Defendants 1-26 have acted with the bad faith intent to profit from Plaintiffs’

  Marks and the goodwill associated with Plaintiffs’ Marks by registering and using the

  Cybersquatted Subject Domain Names.

          75.     Plaintiffs’ Marks were distinctive and famous at the time Defendants 1-26

  registered the Cybersquatted Subject Domain Names.

          76.     Defendants 1-26 have no intellectual property rights in or to Plaintiffs’ Marks.

          77.     The Cybersquatted Subject Domain Names are identical to, confusingly similar

  to, or dilutive of at least one of Plaintiffs’ Marks.

          78.     Defendants 1-26’s conduct is done with knowledge and constitutes a willful

  violation of Plaintiffs’ rights in Plaintiffs’ Marks. At a minimum, Defendants 1-26’s conduct

  constitutes reckless disregard for and willful blindness to Plaintiffs’ rights.

          79.     Plaintiffs have no adequate remedy at law.

          80.     Defendants 1-26’s actions constitute cybersquatting in violation of §43(d) of the

  Lanham Act, 15 U.S.C. §1125(d).

          81.     Plaintiffs have suffered and will continue to suffer irreparable injury and damages

  due to the above described activities of Defendants 1-26 if they are not enjoined.

                    COUNT IV - COMMON LAW UNFAIR COMPETITION

          82.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 56 above.

          83.     This is an action against Defendants based on their (i) promotion, advertisement,

  distribution, sale and/or offering for sale of goods using or bearing marks which are virtually




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  identical to Plaintiffs’ Marks, and (ii) creation and maintenance of an illegal, ongoing

  marketplace enterprise operating in parallel to the legitimate marketplace in which Plaintiffs’

  sells their genuine goods, in violation of Florida’s common law of unfair competition.

         84.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale and/or distributing infringing and counterfeit versions of Plaintiffs’ branded

  goods. Defendants are also using counterfeits and infringements of one or more of Plaintiffs’

  Marks to unfairly compete with Plaintiffs for (i) space in search engine rand social media results

  across an array of search terms and/or (ii) visibility on the World Wide Web.

         85.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the consuming public as to the origin and

  quality of Defendants’ ecommerce stores as a whole and all products sold therein by their use of

  Plaintiffs’ Marks.

         86.     Plaintiffs’ have no adequate remedy at law and are suffering irreparable injury

  and damages as a result of Defendants' actions.

                COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

         87.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 56 above.

         88.     This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods

  bearing one or more of Plaintiffs’ Marks. Plaintiffs are the owners of all common law rights in

  and to Plaintiffs’ Marks.




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           89.   Specifically, Defendants are promoting and otherwise advertising, distributing,

  offering for sale, and selling goods using and bearing infringements of one or more of Plaintiffs’

  Marks.

           90.   Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the general consuming public as to the

  origin and quality of Defendants’ Counterfeit Goods bearing Plaintiffs’ Marks.

           91.   Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

  damages as a result of Defendants’ actions

                                       PRAYER FOR RELIEF

           92.   WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.      Entry of a temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 15 U.S.C. § 1116 and Federal Rule of Civil Procedure 65,

  enjoining Defendants, their agents, representatives, servants, employees, and all those acting in

  concert or participation therewith, from manufacturing or causing to be manufactured, importing,

  advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from

  infringing, counterfeiting, or diluting Plaintiffs’ Marks; from using Plaintiffs’ Marks, or any

  mark or trade dress similar thereto, in connection with the sale of any unauthorized goods; from

  using any logo, trade name, trademark or trade dress that may be calculated to falsely advertise

  the services or products of Defendants as being sponsored by, authorized by, endorsed by, or in

  any way associated with Plaintiffs; from falsely representing themselves as being connected with

  Plaintiffs, through sponsorship or association, or engaging in any act that is likely to falsely

  cause members of the trade and/or of the purchasing public to believe any goods or services of




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  Defendants are in any way endorsed by, approved by, and/or associated with Plaintiffs; from

  using any reproduction, counterfeit, infringement, copy, or colorable imitation of Plaintiffs’

  Marks in connection with the publicity, promotion, sale, or advertising of any goods sold by

  Defendants; from affixing, applying, annexing or using in connection with the sale of any goods,

  a false description or representation, including words or other symbols tending to falsely describe

  or represent Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs

  and from offering such goods in commerce; from engaging in search engine optimization

  strategies using colorable imitations of the Plaintiffs’ names or Plaintiffs’ Marks; and from

  otherwise unfairly competing with Plaintiffs.

                 b.      Entry of a temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 28 U.S.C §1651(a), The All Writs Act, enjoining Defendants

  and all third parties with actual notice of the injunction from participating in, including providing

  financial services, technical services or other support to, the Defendants in connection with the

  sale and distribution of non-genuine goods bearing counterfeits of Plaintiffs’ Marks.

                 c.      Entry of an order that, upon Plaintiffs’ request, those acting in concert or

  participation with Defendants who have notice of the injunction, as service providers cease

  hosting, facilitating access to, or providing any supporting service to any and all domain names,

  including but not limited to the Subject Domain Names, and websites through which Defendants

  engage in the promotion, offering for sale and/or sale of goods using counterfeits and/or

  infringements of Plaintiffs’ Marks.

                 d.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority, that upon Plaintiffs’ request, the top level domain (TLD) Registry

  for each of the Subject Domain Names, and any other domains used by Defendants, or their




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  administrators, including backend registry operators or administrators, place the Subject Domain

  Names on Registry Hold status for the remainder of the registration period for any such domain

  name, thus removing them from the TLD zone files which link the Subject Domain Names, and

  any other domain names being used and/or controlled by Defendants to engage in the business of

  marketing, offering to sell, and/or selling goods bearing counterfeits and infringements of

  Plaintiffs’ Marks, to the IP addresses where the associated websites are hosted.

                  e.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority, canceling for the life of the current registration or, at Plaintiffs’

  election, transferring the Subject Domain Names and any other domain names used by

  Defendants to engage in their counterfeiting of Plaintiffs’ Marks at issue to Plaintiffs’ control so

  they may no longer be used for illegal purposes.

                  f.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act and

  the Court’s inherent authority, authorizing Plaintiffs to request any Internet search engines or

  service provider referring or linking users to any URL of the Subject Domain Names, which are

  provided with notice of the order, to permanently disable, de-index or delist all URLs of the

  Subject Domain Names and/or permanently disable the references or links to all URLs of the

  Subject Domain Names used by Defendants to promote, offer for sale and/or sell goods bearing

  counterfeits and/or infringements of Plaintiffs’ Marks, based upon Defendants’ unlawful

  activities being conducted via the Subject Domain Names as a whole and via any specific URLs

  identified by Plaintiffs.

                  g.      Entry of an order requiring each Defendant, its agent(s) or assign(s), to

  assign all rights, title, and interest, to its Subject Domain Name(s) to Plaintiffs and, if within five

  (5) days of entry of such order any Defendant fails to make such an assignment, the Court order




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  the act to be done by another person appointed by the Court at any non-complying Defendant’s

  expense, such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                 h.      Entry of an order requiring each Defendant, its agent(s) or assign(s), to

  instruct all search engines to permanently delist or deindex the Subject Domain Name(s) and, if

  within five (5) days of entry of such order any Defendant fails to make such a written instruction,

  the Court order the act to be done by another person appointed by the Court at any non-

  complying Defendant’s expense, such as the Clerk of Court, pursuant to Federal Rule of Civil

  Procedure 70(a).

                 i.      Entry of an order requiring each Defendant, its agent(s) or assign(s), to

  instruct the Registrar(s) for each Subject Domain Name(s) to permanently close the domain

  registration account(s) in which any Subject Domain Name(s) are located and, if within five (5)

  days of entry of such order any Defendant fails to make such a written instruction, the Court

  order the act to be done by another person appointed by the Court at any non-complying

  Defendant’s expense, such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure

  70(a)

                 j.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing

  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count I, that Plaintiffs be awarded statutory damages from

  each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit

  trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                 k.      Entry of an order requiring Defendants 1-26 to account to and pay

  Plaintiffs for all profits and damages resulting from those Defendants 1-26’s cybersquatting




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  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count III, that Plaintiffs be awarded statutory damages from

  Defendants 1-26 in the amount of one hundred thousand dollars ($100,000.00) per cybersquatted

  domain name used as provided by 15 U.S.C. §1117(d) of the Lanham Act.

                 l.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 m.      Entry of an award of pre-judgment interest on the judgment amount.

                 n.      Entry of an order for any further relief as the Court may deem just and

  proper.

  DATED: April 6, 2020.                       Respectfully submitted,

                                              STEPHEN M. GAFFIGAN, P.A.

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                                              Ft. Lauderdale, Florida 33301
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                                              E-mail: Stephen@smgpa.net
                                              E-mail: Leo@smgpa.net
                                              E-mail: Raquel@smgpa.net

                                              Attorneys for Plaintiffs.




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                             SCHEDULE A
            DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                 Defendant
                                Defendant / Subject Domain Dame
                  Number
                      1      berlutishoeoutlet.com
                      2      berluticopy.com
                      3      berlutishoesale.com
                      4      berlutishoeshop.com
                      5      berlutishoesshop.com
                      6      berlutishoestore.com
                      7      baglv.ru
                      8      bolsos-louisvuittons.com
                      9      louis-taschens.club
                     10      louisvuitton.top
                     10      louisvuitton2020.top
                     10      louisvuittonshop.club
                     10      louisvuittonshop.online
                     10      louis-vuitton-shop.top
                     10      louisvuittonshopsw.top
                     10      louisvuittonstore.xyz
                     10      louis-vuittonstore.xyz
                     10      luxuryshopin.com
                     11      louisvuitton-baratos.eu
                     12      louisvuittonhunter.net
                     13      lvbag.ru
                     14      lvbag2019online.com
                     15      lvbags.store
                     16      lvbagsale.club
                     17      lvbag-sale.com
                     18      lvbagsbe.com
                     19      lvbagtw.net
                     20      lv-shop.ru
                     21      lv-singapores.com
                     22      replicalvshop.com
                     23      replicaslvstore.com
                     24      toplvbag.com
                     25      authenticlouisvuittonhandbags.com
                     25      authenticlouisvuittonhandbagsoutlet.com
                     25      realpurses.ru




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                    26       gifts4wife.com
                    26       amuze.top
                    26       bagbuy.top
                    26       bagf.xyz
                    26       baggn.top
                    26       baglr.top
                    26       bagq.xyz
                    26       bagr.xyz
                    26       bagt.xyz
                    26       bagw.xyz
                    26       bagxj.top
                    26       bourke.top
                    26       choies.top
                    26       costco.top
                    26       dermstore.top
                    26       dooney.top
                    26       drjays.xyz
                    26       ecost.xyz
                    26       freshpair.xyz
                    26       gift4wife.com
                    26       goldyn.top
                    26       goldyn.xyz
                    26       handango.xyz
                    26       joygryson.top
                    26       joygryson.xyz
                    26       karmaloop.top
                    26       kayu.xyz
                    26       loit.xyz
                    26       louisvuittonblackfriday.top
                    26       louisvuittonblackfriday2019.xyz
                    26       louisvuittonblackfridaydiscount.xyz
                    26       louisvuittonblackfridaysale.xyz
                    26       louisvuittonblackfridayshop.xyz
                    26       louisvuittonblackfridaystore.top
                    26       lv2020.top
                    26       lvbag.site
                    26       lvbags.xyz
                    26       lvblackfriday.top
                    26       lvblackfriday2019.club
                    26       lvblackfridayshop.top



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                    26       lvblackfridaystore.xyz
                    26       lvclub.xyz
                    26       lvcoupon.xyz
                    26       lveshop.top
                    26       lvfactory.top
                    26       lvgifts.xyz
                    26       lvhandbags.xyz
                    26       lvhome.pub
                    26       lvhot.top
                    26       lvhouse.pub
                    26       lvmall.xyz
                    26       lvmarket.site
                    26       lvoff.top
                    26       lvonline.xyz
                    26       lvoutlet.site
                    26       lvshop.site
                    26       lvshop.xyz
                    26       lvstore.pub
                    26       modnique.xyz
                    26       nextag.top
                    26       shop0.site
                    26       shop0.xyz
                    26       shop1.pub
                    26       shop3.pub
                    26       shop4.club
                    26       shop4.ren
                    26       shop5.cloud
                    26       shop6.site
                    26       shop7.online
                    26       shop7.pub
                    26       shop8.pub
                    26       shop8.site
                    26       shop8.xyz
                    26       shop9.ren
                    26       shopb.pub
                    26       shopc.club
                    26       shopc.xyz
                    26       shopd.top
                    26       shopf.xyz
                    26       shopg.site



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                    26       shopg.top
                    26       shoph.site
                    26       shoph.top
                    26       shopi.club
                    26       shopi.site
                    26       shopk.pub
                    26       shopk.top
                    26       shopm.club
                    26       shopm.xyz
                    26       shopn.pub
                    26       shopn.site
                    26       shopn.top
                    26       shopo.ren
                    26       shopr.club
                    26       shopt.club
                    26       shopt.pub
                    26       shopu.ren
                    26       shopu.xyz
                    26       shopv.pub
                    26       shopv.site
                    26       shopv.top
                    26       shopw.top
                    26       shopz.top
                    26       stila.top
                    26       stila.xyz
                    26       stjohn.xyz
                    26       store0.top
                    26       store0.xyz
                    26       store3.online
                    26       store3.xyz
                    26       store4.club
                    26       store4.top
                    26       store4.xyz
                    26       store5.club
                    26       store5.xyz
                    26       store7.club
                    26       store7.top
                    26       store7.xyz
                    26       store9.club
                    26       store9.top



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                    26       store9.xyz
                    26       storea.xyz
                    26       storeb.site
                    26       storeb.xyz
                    26       storee.club
                    26       storee.pub
                    26       storef.xyz
                    26       storeg.xyz
                    26       storeh.xyz
                    26       storei.club
                    26       storei.site
                    26       storej.top
                    26       storej.xyz
                    26       storel.site
                    26       storel.xyz
                    26       storem.online
                    26       storen.club
                    26       storep.xyz
                    26       storeq.xyz
                    26       storer.cloud
                    26       stores.pub
                    26       storeu.club
                    26       storev.club
                    26       storev.online
                    26       storex.pub
                    26       storey.club
                    26       storey.pub
                    26       therow.xyz
                    26       vipbag.top
                    27       3aimitationbags.com
                    28       3sreplicabags.com
                    28       aaabagsfashion.com
                    29       aaabag.nu
                    29       aaahandbags.nu
                    29       leaderreplica.com
                    29       newsluxurybags.com
                    30       aaahandbag.se
                    30       aaareplicabags.nu
                    31       abags.su
                    32       abcwatches.cn



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                    32       wowatches.cn
                    33       bag32.com
                    34       bagscopystore.com
                    35       bellissimo-luxury.com
                    36       bettypurses.com
                    37       brand-belts.ru
                    38       brandsandstyle.ru
                    39       brandshopping.com.ua
                    40       brendmsk.ru
                    41       brend-shoes.ru
                    42       brokenswingband.com
                    43       budgetsignsmn.com
                    44       cheap4world.ru
                    45       cheapbags.ru
                    46       cnreplica.best
                    46       hotsan.best
                    46       hotsan.site
                    46       replicabags.best
                    46       replicabags.shop
                    47       cheapbrandbagshoes.com
                    48       chinahandbags.ru
                    49       classicbilliardspool.com
                    50       clonwatches.com
                    51       dopestkickz.ru
                    52       dw-watchs.ru
                    52       houseswatchs.ru
                    52       housewatchess.ru
                    52       houswatchess.ru
                    52       watches-24-7.ru
                    53       eluxury.co
                    54       essenceluxury.ru
                    55       eurofashions.ru
                    56       fakepursesshopping.com
                    57       fashion-mania.ru
                    58       fashion-optic.com.ua
                    59       fronsa.com
                    60       fullsneaker.com
                    61       helpstaffs.com
                    62       hontwatches.to
                    63       imidge.com.ua



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                    64       juliabags.ru
                    65       kolamkoi.com
                    66       krossovki-fashion.ru
                    67       lacosa-fashion.ru
                    68       lieblingstaschenshop.com
                    69       loftylittles.com
                    70       lux4shop.com
                    71       luxtime.su
                    72       luxury-bags-sale.ru
                    73       luxurybrandshop.ru
                    73       myluxurybags.ru
                    74       luxuryreplicasoutlet.com
                    75       luxuryreplicassale.com
                    76       luxurytasticreplica.co
                    76       luxurytasticreplicas.co
                    77       makwatch.com.ua
                    78       maragift.com
                    79       megareplicas.com.br
                    80       mensluxury.su
                    81       mk-fashion.ru
                    82       modamall.cn
                    82       modechine.ru
                    83       modeclothes.ru
                    83       pursemall.cn
                    83       pursemall.ru
                    84       modnie-sumki.com
                    85       plombier-montesson.com
                    86       pursesreplicashop.com
                    87       purseworthy.ee
                    88       raymenezes.com
                    89       replicabagshop.ru
                    90       replicabagslatest.com
                    91       replicabagsselling.com
                    92       replicanewbags.com
                    93       replicasderelogios.com.br
                    94       replicashopindia.in
                    95       replicasshopping.ru
                    96       replicawatches.ws
                    97       replicawatchreport.co
                    98       reptripleawatch.co



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                     99      royalwatches.pk
                    100      saleaaa.com
                    101      shoeshotshops.com
                    102      shoes-vip.ru
                    103      shopinc.ru
                    104      shopping-handbags.com
                    105      shopreplika.com.ua
                    106      sneakers-fashion.ru
                    107      styleper.kr
                    108      sunglasses-online.ru
                    109      swisscopies.ru
                    110      taschenoutletwien.at
                    111      theminiunicorn.co.za
                    112      thepotentialists.ca
                    113      titonistas.com
                    114      tusani-big-ben.com
                    115      vantagepointstable.com
                    116      village-outlet.ru
                    117      vipswatch.ru
                    118      watchmania.ru
                    119      watchmarkaz.pk
                    120      whitestory.ua
                    121      worldscapeslgpllc.com
                    122      z077.ru
                    123      zahidgill.com
                    124      zealreplica.pl
                    125      zedo-fashion.com




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